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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                                         )
OKLAHOMA FIREFIGHTERS PENSION            )
AND RETIREMENT SYSTEM,                   )
                                         )
                        Plaintiff,       )
                                         )
                 v.                      )            CIVIL ACTION
                                         )            NO. 22-10200-WGY
BIOGEN INC., MICHEL VOUNATSOS,           )
and ALISHA ALAIMO,                       )
                                         )
                        Defendants.      )
                                         )


YOUNG, D.J.                                             February 4, 2025


                              REPORT and ORDER

                      Have the courage of your own error. 1

~ Hon. Vincent Brogna, Justice, Massachusetts Superior Court (1978).

I.    INTRODUCTION AND RELEVANT PROCEEDINGS

      This is a securities class action lawsuit brought by

shareholders who allege that they were harmed by a series of

misrepresentations made by Biogen, Inc. and its executives

(collectively, “Biogen”) during the rollout of Biogen’s


      1“This statement is more profound than it sounds. Of
course, we must do our best to get it right and, of course, we
must not hesitate to correct our errors. We must, however,
decide. Failure to act is oft-times as injurious to justice as
judicial error.” William G. Young, The Judge’s Common Book,
https://www.google.com/url?sa=t&source=web&rct=j&opi=89978449&ur
l=https://www.mad.uscourts.gov/boston/pdf/young/THE%2520JUDGE%25
27S%2520COMMON%2520BOOK.pdf&ved=2ahUKEwitwKHnoJ6LAxXbLFkFHcwhCYw
QFnoECAcQAQ&usg=AOvVaw3qz-BHr5Ve9ETPjQ5Hf-q5.
                                       [1]
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Alzheimer’s drug Aduhelm.    On May 10, 2024, the plaintiff

Oklahoma Firefighters Pension and Retirement System (“the

Firefighters”) moved to certify a class consisting of “[a]ll

persons and entities who purchased or otherwise acquired common

stock of Biogen, Inc. between June 8, 2021, and January 11,

2022,” with certain exclusions.     Lead Pl.’s Mem. Supp. Mot.

Certify Class (“Pl.’s Mem. Supp.”) 1, ECF No. 80; see also Lead

Pl.’s Mot. Certify, ECF No. 79.     After briefing and oral

argument, on September 5, 2024 this Court allowed the

Firefighters’ motion to certify the class, provided that the

class period shall end on July 12, 2021.       Elec. Order, ECF No.

100; Elec. Order, ECF No. 108.    On December 9, 2024, after

cross-petitions for leave to appeal were brought pursuant to

Rule 23(f) of the Federal Rules of Civil Procedure, a panel of

the First Circuit Court of Appeals ordered this Court to enter a

memorandum reflecting its “rigorous analysis” of the relevant

Rule 23 class certification factors within sixty days.           USCA

Order, ECF No. 143.   This memorandum sets out the Court’s

reasoning for its certification decision. 2




     2 Remember learning long division in grade school? Quite
properly the teacher would say, “Show your work!” to ensure that
the student understood the steps in long division,
notwithstanding any addition or subtraction errors. So here.
                                    [2]
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II.    ANALYSIS

       A.   Legal Standard

       “Rule 23 does not set forth a mere pleading standard.             A

party seeking class certification must affirmatively demonstrate

his compliance with the Rule -- that is, he must be prepared to

prove that there are in fact sufficiently numerous parties,

common questions of law or fact, etc.”         Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 350 (2011).

       “To qualify for class certification under Rule 23, a

plaintiff must demonstrate that: 1) there are so many class

members that joinder of all members is impracticable; 2) common

questions of law or fact exist among the class members; 3) the

named plaintiff’s claims or defenses are typical of those of the

class; and 4) the named plaintiff will fairly and adequately

represent the interests of the class.”         Wortman v. LogMeIn,

Inc., No. 18-11475-GAO, 2022 WL 3714620, at *1 (D. Mass. Aug.

29, 2022) (O’Toole, J.) (citing Fed. R. Civ. P. 23(a)).              These

are also known as the Rule 23(a) requirements: (1) numerosity;

(2) commonality; (3) typicality; and (4) adequacy of

representation.     See Fed. R. Civ. P. 23(a); Wal-Mart Stores, 564

U.S. at 349.

       In addition affirmatively to establishing the Rule 23(a)

requirements, the party seeking class certification must also

establish one of the three grounds listed under Rule 23(b).                  See

                                       [3]
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Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614 (1997); Smilow

v. Southwestern Bell Mobile Sys., Inc., 323 F.3d 32, 38 (1st

Cir. 2003).   If challenged, the party seeking class

certification must establish the facts underlying the Rule 23(a)

and 23(b) requirements by a preponderance of the evidence.            In

re Nexium Antitrust Litig., 777 F.3d 9, 27 (1st Cir. 2015)

(citing Messner v. Northshore Univ. HealthSystem, 669 F.3d 802,

811 (7th Cir. 2012)).   “Once plaintiffs have made their initial

showing, defendants have the burden of producing sufficient

evidence to rebut the plaintiff’s showing.”        In re Nexium, 777

F.3d at 27.

     In reviewing requests for class certification, the district

court must conduct a “rigorous analysis,” which oftentimes will

“entail some overlap with the merits of the plaintiff’s

underlying claim.”   Wal-Mart Stores, 564 U.S. at 351 (quoting

General Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 161

(1982)).   A court must not, however, “turn the class-

certification proceeding into an unwieldy trial on the merits.”

In re PolyMedica Corp. Sec. Litig., 432 F.3d 1, 17 (1st Cir.

2005).

     B. Rule 23(a)

           1. Numerosity

     For a class to be certified, it must be “so numerous that

joinder of all members is impracticable.”       Fed. R. Civ. P.

                                    [4]
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23(a)(1).    Courts refer to this as the “numerosity” requirement.

See, e.g., Wal-Mart Stores, 564 U.S. at 349; General Tel., 457

U.S. at 156.    While there is no minimum number of class members

needed to satisfy this requirement, as a general matter, courts

have held that if the moving party can establish that its

class’s potential members exceed 40, the requirement has been

met.    See, e.g., Garcia-Rubiera v. Calderon, 570 F.3d 443, 460

(1st Cir. 2009) (quoting Stewart v. Abraham, 275 F.3d 220, 226-

27 (3d Cir. 2001)) (“No minimum number of plaintiffs is required

to maintain a suit as a class action, but generally if the named

plaintiff demonstrates that the potential number of plaintiffs

exceeds 40, the first prong of Rule 23(a) has been met.”).

“[I]n a securities class action, the class size may be

reasonably inferred to be in the hundreds of thousands when

there are ‘millions of shares outstanding and [] millions of

transactions during the class period.’”      In re AVEO Pharms.,

Inc. Sec. Litig., No. 13-11157, 2017 WL 5484672, at *3 (D. Mass.

Nov. 14, 2017) (Casper, J.) (quoting In re Evergreen Ultra Short

Opportunities Fund Sec. Litig., 275 F.R.D. 382, 388 (D. Mass.

2008) (Gorton, J.)).

       The Firefighters have shown that hundreds of millions of

shares of Biogen stock were traded during the initial proposed

class period, averaging 1.54 million shares traded per day, and

that at least 1,858 institutional investors owned stock during

                                    [5]
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that period.   Decl. Jeffrey C. Block (“Block Decl.”), Ex. A,

Report Market Efficiency and Damages Methodology, Prof. Steven

P. Feinstein, PhD, CFA (“Feinstein Report”) ¶¶ 54, 66, ECF No.

79-1.   Although this Court shortened the class period from the

one proposed, “numerosity can be assumed where the number of

shares traded is so great that common sense dictates the class

is very large.”   In re Bos. Sci. Corp. Sec. Litig., 604 F. Supp.

2d 275, 281 (D. Mass. 2009) (Woodlock, J) (quoting Grace v.

Perception Tech. Corp., 128 F.R.D. 165, 167 (D. Mass. 1989)

(Harrington, J.).     Given the high trading volume and the 148.52

million shares outstanding on average during the proposed class

period, this is such a case.    Feinstein Report ¶ 91.        Biogen has

not contested this issue.    The Firefighters have carried their

burden to show that the class is so numerous that joinder would

be impracticable, and therefore the numerosity requirement of

Rule 23(a)(1) is satisfied.

     2. Commonality

     For a class to be certified, there must also be “questions

of law or fact common to the class.”       Fed. R. Civ. P. 23(a)(2).

Courts have called this the “commonality” requirement.           See,

e.g., Wal-Mart Stores, 564 U.S. at 349; General Tel., 457 U.S.

at 156.   A question is common if it is “capable of classwide

resolution -- which means that determination of its truth or

falsity will resolve an issue that is central to the validity of

                                    [6]
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each one of the claims in one stroke.”      Wal-Mart Stores, 564

U.S. at 350; see also Parent/Professional Advocacy League v.

City of Springfield, 934 F.3d 13, 28 (1st Cir. 2019).           At its

crux, commonality is typically about “‘a particular and

sufficiently well-defined set of allegedly illegal policies [or]

practices’ that work similar harm on the class plaintiffs.”

Parent/Professional Advocacy League, 934 F.3d at 28 (alteration

in original) (quoting Parsons v. Ryan, 754 F.3d 657, 679 (9th

Cir. 2014)).

     To meet this commonality standard, a class need not

establish that every question of law or fact is identical;

rather, the existence of a single significant common issue of

fact or law is sufficient.     In re Pharmaceutical Indus. Average

Wholesale Price Litig., 230 F.R.D. 61, 78 (D. Mass. 2005)

(Saris, J.).    “The threshold of ‘commonality’ is not high.”          Id.

(quoting Jenkins v. Raymark Indus., Inc., 782 F.2d 468, 472 (5th

Cir. 1986)).    “The existence of shared legal issues with

divergent factual predicates is sufficient, as is a common core

of salient facts coupled with disparate legal remedies within

the class.”    Id. (quoting Hanlon v. Chrysler Corp., 150 F.3d

1011, 1019 (9th Cir. 1998)).    In securities class actions,

courts routinely find that the commonality requirement is

satisfied when plaintiffs allege damages due to



                                    [7]
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misrepresentations and seek damages calculations.              In re

Evergreen, 275 F.R.D. 382, 388-89 (collecting cases).

       The class members’ claims here all arise out of the same

alleged misrepresentations, which the Firefighters claim

artificially inflated Biogen’s stock price during the class

period.    See Pl.’s Mem. Supp. 8-9.      Issues of misrepresentation,

scienter, loss causation, and damages measurement are common to

all class members.      See In re AVEO Pharms., 2017 WL 5484672, at

*4.    Where, as here, certification depends on satisfying the

more stringent Rule 23(b)(3) predominance requirement, moreover,

the commonality requirement becomes “largely irrelevant.”               In re

Boston Sci. Corp., 604 F. Supp. 2d 275, 281 (D. Mass. 2009)

(Woodlock, J.) (quoting Grace, 128 F.R.D. at 167).              Biogen has

not contested this issue.        The Firefighters have carried their

burden to show that class members’ claims share legal issues and

a common core of salient facts, and therefore the commonality

requirement of Rule 23(a)(2) is satisfied.

       3. Typicality

       For a class to be certified, “the claims or defenses of the

representative parties” must be “typical of the claims or

defenses of the class.”        Fed. R. Civ. P. 23(a)(3).        Courts refer

to this as the “typicality” requirement.          See Wal-Mart Stores,

564 U.S. at 349; General Tel., 457 U.S. at 156.            This

requirement is met when the lead plaintiff’s “injuries arise

                                       [8]
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from the same events or course of conduct as do the injuries of

the class, and . . . its claims are based on the same legal

theory as those of the class.”    In re Boston Sci. Corp. Sec.

Litig., 604 F. Supp. 2d at 282.     Typicality is met whenever

there is “congruence between particular claims of the named

class representatives and the generalized claims that are common

to the class.”   Payne v. Goodyear Tire & Rubber Co., 216 F.R.D.

21, 26 (D. Mass. 2003) (Gertner, J.); see also In re Suffolk

Univ. Covid Refund Litig., No. 20-10985, 2022 WL 6819485, at *1

(D. Mass. Oct. 11, 2022).    “[C]lass representatives’ claims can

be considered typical even where there is some factual variation

among the claims of different class members.”        In re Evergreen,

275 F.R.D. at 390.

     The Firefighters’ claims are based on the same factual and

legal premises as those of the proposed class members: alleged

misrepresentations that inflated Biogen’s stock price during the

class period, in violation of Sections 10(b) and 20(a) of the

Securities Exchange Act.    2d Am. Compl. (“SAC”) ¶ 3, ECF No. 75.

The Firefighters thus have “the incentive to prove all the

elements of the cause of action which would be presented by the

individual members of the class were they initiating

individualized actions.”    In re AVEO Pharms., 2017 WL 5484672,

at *4 (quoting In re Evergreen, 275 F.R.D. at 389).          Biogen has

not contested this issue.    The Firefighters have carried their

                                    [9]
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burden to show that there is congruence between the class

representative’s claims and those of the class, and therefore

the typicality requirement of Rule 23(a)(3) is satisfied.

            4. Adequacy

     The final requirement for class certification under Rule

23(a) is that “the representative parties . . . fairly and

adequately protect the interests of the class.”             Fed. R. Civ. P.

23(a)(4).    Courts commonly refer to this as the “adequacy of

representation” requirement.     See Wal-Mart Stores, 564 U.S. at

349; General Tel., 457 U.S. at 156.

     To satisfy the adequacy requirement, the moving party must

meet a two-step standard: “The moving party must show first that

the interests of the representative party will not conflict with

the interests of any of the class members, and second, that

counsel chosen by the representative party is qualified,

experienced and able to vigorously conduct the proposed

litigation.”    Andrews v. Bechtel Power Corp., 780 F.2d 124, 130

(1st Cir. 1985).    “For the adequacy of class representatives, in

a securities fraud class action, ‘the timing of class members’

purchase and sale of the [] stock’ does not create conflicts

precluding classification if it is outweighed by ‘the common

interest in establishing misrepresentations made by

defendants.’”    In re AVEO Pharms., 2017 WL 5484672, at *4

(quoting In re Evergreen, 275 F.R.D. at 392).         Adequacy of

                                    [10]
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counsel may be judged by counsel’s work to identify and

investigate claims, its experience in handling class actions,

complex litigation, and similar claims, its knowledge of the

relevant law, and the resources it has committed to the class.

Id.; Fed. R. Civ. P. 23(g)(1)(A).

     The Firefighters’ interests are aligned with those of the

class members because their claims are based on the same

misrepresentations as those of the class.        See supra section

II.B.3.   Likewise, based on its representation of the

Firefighters to date and its prior experience with securities

class action litigation, the proposed class counsel is adequate.

See Block Decl., Ex. C, Block & Leviton Firm Resume.           Biogen has

not contested these issues.     The Firefighters have carried their

burden to show that the class representative and its proposed

counsel adequately represent the interests of the class, and

therefore the adequacy requirement of Rule 23(a)(4) is

satisfied.

                                  ***

     For the reasons set out above, the Court rules that the

Firefighters successfully establish the four requirements for

class certification under Rule 23(a).      The Court next turns to

an analysis of the Rule 23(b) requirements.




                                    [11]
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       C. Rule 23(b)(3) -- Predominance

     Under Rule 23(b)(3), the Firefighters must demonstrate that

“the questions of law or fact common to class members

predominate over any questions affecting only individual

members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the

controversy.”   Fed. R. Civ. P. 23(b)(3).      Rule 23(b)(3) is thus

a two-prong test of “predominance and superiority.”           In re

Boston Sci. Corp., 604 F. Supp. 2d at 282.        Superiority is not

contested here, and this Court agrees with the Firefighters that

the number of parties allegedly harmed makes joinder

impracticable and individual litigation burdensome and

expensive, satisfying the superiority requirement.          Pl.’s Mem.

2-3, 19-20; see In re Evergreen, 275 F.R.D. at 393.

     “In securities class action cases, the crucial requirement

for class certification will usually be the predominance

requirement of Rule 23(b)(3).”     Halliburton Co. v. Erica P. John

Fund, Inc., 573 U.S. 258, 276 (2014) (Halliburton II).           “The

Rule 23(b)(3) predominance inquiry tests whether proposed

classes are sufficiently cohesive to warrant adjudication by

representation.”   Amchem, 521 U.S. at 623.       “[T]he need for some

individualized determinations at the liability and damages stage

does not defeat class certification. . . .        Rather, the question

is whether there is ‘reason to think that [individualized]

                                    [12]
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questions will overwhelm common ones and render class

certification inappropriate[.]’”      In re Nexium, 777 F.3d at 21

(quoting Halliburton II, 573 U.S. at 276).

     The First Circuit has noted that, in conducting a

predominance inquiry, “a district court must formulate some

prediction as to how specific issues will play out in order to

determine whether common or individual issues predominate in a

given case.”    Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d

288, 298 (1st Cir. 2000).     “In order to obtain class

certification, a plaintiff at all times bears the burden of

demonstrating that the Rule 23 requirements have been

satisfied.”    Southern States Police Benev. Ass’n, Inc. v. First

Choice Armor & Equip., Inc., 241 F.R.D. 85, 90 (D. Mass. 2007)

(Gorton, J.) (first citing Smilow, 323 F.3d at 38; and then

citing Swack v. Credit Suisse First Boston, 230 F.R.D. 250, 257

(D. Mass. 2005)).

               1. Reliance

     “Whether common questions of law or fact predominate in a

securities fraud action [under § 10(b) of the Securities

Exchange Act of 1934] often turns on the element of reliance.”

Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 810

(2011) (Halliburton I). 3    “[P]roof of reliance ensures that there


     3 “The elements of a private securities fraud claim based on
violations of § 10(b) . . . are: (1) a material
                                     [13]
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is a proper ‘connection between a defendant’s misrepresentation

and a plaintiff’s injury.’”     Id. (quoting Basic Inc. v.

Levinson, 485 U.S. 224, 243 (1988)).

     In Basic Inc. v. Levinson, the Supreme Court established

that securities fraud class action plaintiffs may invoke a

rebuttable presumption of reliance by showing “(1) that the

alleged misrepresentations were publicly known, (2) that they

were material, (3) that the stock traded in an efficient market,

and (4) that the plaintiff traded the stock between the time the

misrepresentations were made and when the truth was revealed.”

Halliburton II, 573 U.S. at 268; see Basic Inc., 485 U.S. at 248

n.27.   This is known as the “fraud-on-the-market” theory, which

reflects the premise that “the market price of shares traded on

well-developed markets reflects all publicly available

information, and, hence, any material misrepresentations.”

Basic Inc., 485 U.S. at 246.

     The Basic factors are not all treated equally.           Materiality

need not be proved at the class-certification stage, “[b]ecause

a failure of proof on the issue of materiality, unlike the

issues of market efficiency and publicity, does not give rise to




misrepresentation or omission by the defendant; (2) scienter;
(3) a connection between the misrepresentation or omission and
the purchase or sale of a security; (4) reliance upon the
misrepresentation or omission; (5) economic loss; and (6) loss
causation.” Halliburton I, 563 U.S. at 809–10 (cleaned up).
                                    [14]
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any prospect of individual questions overwhelming common ones.”

Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455,

474 (2013).   Rather, “the failure of common proof on the issue

of materiality ends the case for the class and for all

individuals alleged to compose the class.”          Id.       To hold

otherwise, the Supreme Court has observed, “would necessitate a

mini-trial on the issue of materiality at the class-

certification stage,” wasting judicial resources and flouting

Federal Rule of Civil Procedure 23(c)(1)(A)’s command that

courts ought make certification decisions at an “early

practicable time.”   Id. at 477.

     The issue of price impact, on the other hand -- that is,

whether an alleged misrepresentation was reflected in the market

price at the time of the relevant transactions -- “has

everything to do with the issue of predominance at the class

certification stage.”       Halliburton II, 573 U.S. at 283.            This is

because Basic’s “fundamental premise” is “that an investor

presumptively relies on a misrepresentation so long as it was

reflected in the market price at the time of his transaction.”

Halliburton I, 563 U.S. at 813 (emphasis added); see also

Halliburton II, 573 U.S. at 283.       Thus, defendants confronted

with a fraud-on-the-market theory-based presumption of reliance

must be afforded an opportunity to rebut the Basic presumption

by “sever[ing] the link between the alleged misrepresentation

                                      [15]
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and [] the price paid . . . by the plaintiff” through direct and

indirect price impact evidence.     Id. at 269 (quoting Basic Inc.,

485 U.S. at 248).

     The distinction between materiality and price impact is a

subtle one.    A misrepresentation “is material if a ‘reasonable

investor would have viewed it as having significantly altered

the total mix of information made available.’”         Zhou v. Desktop

Metal, Inc., 120 F. 4th 278, 292 (1st Cir. 2024) (quoting Ponsa-

Rabell v. Santander Sec. LLC, 35 F. 4th 26, 33 (1st Cir. 2022)).

This is a “mixed question of law and fact,” TSC Industries, Inc.

v. Northway, Inc., 426 U.S. 438, 450 (1976), a “fact-specific

inquiry,” Basic Inc., 485 U.S. at 240, and an “objective issue

susceptible to common, classwide proof,” Halliburton II, 573

U.S. at 282.    While materiality goes to the question whether a

reasonable investor could have relied on the alleged

misrepresentations, “price impact” asks “whether the alleged

misrepresentations affected the market price in the first

place.”   Halliburton I, 563 U.S. at 814. 4


     4 Price impact must also be distinguished from “loss
causation,” which asks whether “the defendant’s deceptive
conduct caused [the plaintiffs’] claimed economic loss,” and
which plaintiffs need not prove at the certification stage.
Halliburton I, 563 U.S. at 807. This distinction is important,
because it keeps in focus that it is not a plaintiff’s burden,
at certification, to show that any alleged losses were
attributable only to the alleged misrepresentations. “The fact
that a subsequent loss may have been caused by factors other
than the revelation of a misrepresentation has nothing to do
                                    [16]
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     Biogen does not dispute that the Firefighters have

established the requisite Basic factors -- that is, publicity,

market efficiency, and market timing.      See Pl.’s Mem. Supp. 13-

18; but see Defs.’ Mem. Opp’n Mot. Certify (“Defs.’ Mem. Opp’n”)

6, ECF No. 87 (reserving right to criticize the Firefighters’

expert report further).     Rather, Biogen invokes its right to

undercut the Basic presumption by showing a total lack of price

impact.   Defs.’ Mem. Opp’n 1-4.    To this end, Biogen argues that

the Firefighters have in effect hoisted themselves on their own

petard, presenting this Court with an expert event study that

itself shows that the alleged misrepresentations had no impact

on price.   See Defs.’ Sur-Reply Mem. Opp’n Mot. Certify (“Defs.’

Sur-Reply”) 1-2, ECF No. 94; Declaration of Michael S. Hines

(“Hines Decl.”), Ex. 1, Expert Report of Jennifer Marietta-

Westberg, Ph.D. (“Marietta-Westberg Report”) ¶¶ 25-46, ECF No.

88-1.   In support of this argument, Biogen presents its own

expert report, although not its own separate event study.            See

Marietta-Westberg Report.     The Firefighters have presented a

rebuttal report.   Pl.’s Reply Supp. Mot. Certify, Ex. 2,



with whether an investor relied on the misrepresentation in the
first place, either directly or presumptively through the fraud-
on-the-market theory.” Id. at 813. Rather, at certification,
once the plaintiff has shown that the Basic factors apply, the
defendant has the burden of persuasion to show that the alleged
misrepresentations had no impact on price, severing the link
between misrepresentation and price impact. Goldman Sachs Grp.,
Inc. v. Arkansas Tchr. Ret. Sys., 594 U.S. 113, 125-27 (2021).
                                    [17]
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Rebuttal Report of Professor Steven P. Feinstein, Ph.D., CFA,

(“Feinstein Rebuttal Report”), ECF No. 90-2.

     This Court agrees that the Firefighters have carried their

burden to show that the Basic factors apply, and thus proceeds

to the question whether Biogen has successfully rebutted the

premise of price impact that underlies the Basic presumption.

For the reasons given below, it concludes that Biogen has not

done so.   Independent of the predominance issue, however, this

Court is compelled to extend the class period no further than

the impact of the July 12 corrective disclosure identified by

the Firefighters, because that is the date on which the alleged

misrepresentations were unambiguously cured.         Thus, this Court

ALLOWED the motion to certify the class, provided that the class

period shall extend no further than July 12, 2021.

                a. Price Impact Defined

     The Firefighters allege that, “[f]ueled by [Biogen’s] false

and misleading statements, Biogen’s stock price skyrocketed

following the FDA’s approval of Aduhelm,” then, after the market

learned the truth, “Biogen’s stock price fell . . . well below

its pre-FDA approval price, removing all the inflation in

Biogen’s stock.”   SAC ¶ 4.    Biogen argues that there is no

evidence that the alleged misrepresentations impacted the price

of Biogen’s stock at any time, see Defs.’ Mem. Opp’n 12-17, and

that the Firefighters’ own event study shows no statistically

                                    [18]
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significant price increase or decrease either at the “front end”

when the alleged misrepresentations were made or at the “back

end” when they were allegedly corrected, see Defs.’ Sur-Reply 1-

5.   The Firefighters rebut by characterizing Biogen’s argument

as a premature loss causation challenge, and argue that Biogen

cannot meet its burden of proving no price impact merely by

pointing to the Firefighters’ own event study, which in any case

was prepared to show market efficiency, not price impact.               See

generally Pl.’s Reply Supp. Mot. Certify (“Pl.’s Reply”), ECF

No. 90.

      “In assessing price impact at class certification, courts

‘should be open to all probative evidence on that question --

qualitative as well as quantitative -- aided by a good dose of

common sense.’”     Goldman, 594 U.S. at 122 (quoting In re

Allstate Corp. Securities Litig., 966 F.3d 595, 613, n. 6 (7th

Cir. 2020)).    This is so “regardless whether the evidence is

also relevant to a merits question like materiality.”             Id.    As

the Supreme Court has observed, “materiality and price impact

are overlapping concepts and . . . the evidence relevant to one

will almost always be relevant to the other.”           Id. at 122 n.2.

Courts must assess all evidence relevant to price impact “while

resisting the temptation to draw what may be obvious inferences

for the closely related issues that must be left for the merits,



                                      [19]
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including materiality.”     Id. (quoting In re Allstate Corp. Sec.

Litig., 966 F.3d at 608)).

     Under an inflation-based theory of price impact like the

one advanced here, “price impact is the amount of price

inflation maintained by an alleged misrepresentation -- in other

words, the amount that the stock’s price would have fallen

‘without the false statement.’”     Id. at 123 (quoting Glickenhaus

& Co. v. Household Int’l, Inc., 787 F. 3d 408, 415 (7th Cir.

2015)).   In cases based on an inflation theory, the inference of

price impact “starts to break down when there is a mismatch

between the contents of the misrepresentation and the corrective

disclosure,” for example, “when the earlier misrepresentation is

generic . . . and the later corrective disclosure is specific,”

because then “it is less likely that the specific disclosure

actually corrected the generic misrepresentation” and “there is

less reason to infer front-end price inflation -- that is, price

impact -- from the back-end price drop.”       Id.

     This Court allowed the motion to certify the class with a

class period ending July 12, 2021, Elec. Orders, ECF Nos. 100,

108, because, although Biogen did not meet its burden of showing

no price impact in the whole class period, Biogen persuasively

argued that the alleged misrepresentations were corrected by the

disclosure on that date.    While a predominance issue under

Goldman might have arisen with respect to the proposed class

                                    [20]
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period ending January 11, 2022, this Court in its judgment

determined that the Basic presumption of reliance was supported

with respect to the certified class period beginning with the

June 8, 2021 misrepresentations and terminating with the July

12, 2021 disclosure.

     In so ruling, this Court is mindful of the difficult

distinction between price impact and materiality, and of the

relative novelty of the case law it applies.         Since it is

required to consider all probative evidence in deciding this

issue, moreover, this Court could not agree with the

Firefighters that it was prima facie impossible for Biogen to

carry its burden of showing no price impact by relying, as it

does, mostly on the Firefighters’ own expert report, and

reasoning about the nature of the misrepresentations and

disclosures.   Rather, as the Supreme Court requires, all

relevant evidence was considered.

          b. The Class Period

     The Firefighters initially proposed a class period

beginning June 7, 2021 and ending January 11, 2022, SAC ¶ 3, but

later clarified that the alleged misrepresentations were made on

June 8, 2021, Pl.’s Mem. Supp. 3.     As it stands, the

Firefighters’ motion to certify depends on two nearly identical

misrepresentations: defendant former Biogen CEO Michel

Vounatsos’s statements on a conference call on June 8, 2021, the

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day after Aduhelm’s approval, that, “[f]or Medicare fee-for-

service, coverage is automatically presumed with FDA approval,”

and that Biogen expected “most Medicare Advantage plans to

define their medical policies within the first several months

after launch,” and defendant Biogen U.S. President Alisha

Alaimo’s essentially identical statement on the same day, to

which she added that Biogen expected “commercial plans to define

their medical policies . . . within the first several months

after launch.”   SAC ¶¶ 187, 192.

     The Firefighters allege that these statements were false

and misleading when made, because they “misrepresented that

Biogen expected that what typically occurs with Medicare

coverage for newly FDA-approved treatments would happen for

Aduhelm,” when in fact as early as summer 2020 Biogen expected

that, if the drug received broad FDA approval, the U.S. Centers

for Medicare and Medicare Service (“CMS”) would likely initiate

a National Coverage Determination (“NCD”), which is typically a

12-18 month process, and that this would likely lead to narrower

coverage than the FDA approval itself would indicate.           Id. ¶¶

188-91, 193.

     The Firefighters proposed a class period end date of

January 11, 2022, because that was the date on which CMS

released its draft opinion limiting Medicare reimbursement for

Aduhelm patients to those enrolled in clinical trials.           Id. ¶¶

                                    [22]
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20, 26, 270-71.   Thus, the proposed class period was based on a

fit between the initial misrepresentation that Medicare coverage

of Aduhelm was presumed automatic and would be determined by

Medicare Advantage and commercial plans within the first several

months after launch, and a determination by CMS that Medicare

coverage for Aduhelm would be far from “automatic,” but rather

severely restricted.   See Pl.’s Reply 2-3.

     In certifying a class with a class period ending July 12,

2021, this Court instead credited Biogen’s argument that the

announcement of the NCD process itself corrected the initial

misrepresentations by making it clear that the process of

determining Medicare coverage for Aduhelm would be, as Biogen

allegedly expected, lengthy and complex -- that is, not

automatic, and not likely to be determined within the first

several months after launch.     See Defs.’ Sur-Reply 4-5, 9.         The

Firefighters argued instead that the announcement of an NCD

determination did not fully correct the misrepresentations

because the “implications” of the NCD announcement were at first

unclear, and were in fact portrayed in some reporting, and later

on by Biogen’s own statements, to be at least potentially

positive.   Pl.’s Reply 9-12.    The Firefighters also pointed out

that this Court itself, in an order issued March 19, 2024

reconsidering its initial dismissal of the case, characterized

Biogen’s misrepresentations as going to the question of

                                    [23]
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Aduhelm’s anticipated Medicare coverage overall, in addition to

the narrower question of whether a lengthy NCD process would be

initiated.     Pl.’s Reply 2-3, 9-10; Mem. & Order (“Order”), ECF

No. 68.     In that Order, as the Firefighters observed, this Court

wrote that “for some time before the relevant statements,

Biogen’s middle management were discussing the high likelihood

that they would have a longer process and get narrower Medicare

coverage for ADUHELM,” and that there was therefore “a cogent

inference of scienter on the part of the Executives, since they

likely knew when they made their public statements that ADUHELM

would actually get a much narrower Medicare approval.”              Order

10.

       Whatever Biogen knew or expected, this Court cannot stretch

the alleged misrepresentations beyond what they actually say.

Biogen did not say on June 8, 2021, “Aduhelm will be fully

covered by Medicare,” while expecting that it would not be;

rather, it said coverage was automatically presumed, and that it

expected coverage policies to be defined within several months

from launch, while, allegedly, expecting that the automatic

presumption would not be applied to Aduhelm, and that the

coverage determination process would be much longer, with

uncertain, and likely narrower, results.          See SAC, Ex. B.,

Biogen Docs. 79, ECF No. 75-2.        The scienter allegations

discussed in this Court’s prior order were enough to raise an

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inference that Biogen’s representations about the application of

the automatic presumption and speedy determination of coverage

plans were knowingly false, in part because Biogen may have

ultimately expected more limited Medicare coverage, but this

does not change the nature of what Biogen actually said: it

stated that coverage was automatically presumed and that it

expected plans to define their policies within several months,

not that all or even most Medicare plans would cover Aduhelm. 5

The Firefighters themselves summarize the core of their argument

against Biogen regarding these statements in the SAC in this

way: “Defendants knew, or recklessly disregarded, that coverage

would not be ‘automatic,’ regardless of what typically happens



     5 This issue is analogous to one raised recently in the
price impact context. In the Goldman case, the Supreme Court
ordered the court of appeals to consider, on remand, the generic
nature of the alleged misrepresentation, as compared with the
specificity of the alleged corrective disclosure, in deciding
whether the defendants had successfully severed the link between
the misrepresentation and the price paid by the plaintiffs, and
so whether the Basic presumption had been rebutted. Goldman,
594 U.S. at 123-27. In later correcting the district court’s
application of that standard, the Second Circuit observed that
this task required the court to ask not what would have happened
if the defendant had spoken some truth more or less specific
than the alleged misrepresentation, but rather how the market
would have reacted “had the company spoken truthfully regarding
its . . . problems at an equally generic level.” Arkansas Tchr.
Ret. Sys. v. Goldman Sachs Grp., Inc., 77 F. 4th 74, 98 (2d Cir.
2023) (emphasis added). Similarly, here, the January 11
announcement of the NCD process’s result was more specific and
otherwise different than the June 8 alleged misrepresentations,
which went to Biogen’s expectations of the determination process
and its speed.

                                    [25]
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with FDA-approved treatments.”     SAC ¶ 20 (emphasis added).         The

fact that coverage would not be automatic was fully revealed by

the July 12 announcement of a lengthy NCD review process.            In

other words, one cannot misrepresent what one does not represent

at all. 6

     In making this determination, this Court did not engage in

price impact or materiality analysis.      Although, at class

certification, this Court must avoid deciding fact-intensive

issues properly reserved to the merits stage, see Karinski v.

Stamps.com, Inc., No. CV 19-1828-MWF(SKx), 2020 WL 6572660, at

*7 (C.D. Cal. Nov. 9, 2020), “[i]n a securities fraud class

action, ‘courts are required to cut off the class period on the

date of a statement or event that cures the market,’” Pirnik v.


     6 The Firefighters’ SAC refers once to a “duty to disclose,”
SAC ¶ 285, and more generally in several places to “omissions,”
see, e.g., id. ¶¶ 16, 279, 281, but the Firefighters have not
developed an omission-based theory of liability extending beyond
the representation regarding the automatic presumption, and the
only specific omissions described in the SAC refer to statements
not at issue here, id. ¶ 184. The securities laws “do not
create an affirmative duty to disclose any and all material
information”; rather, they “only prohibit omissions that
engender ‘half-truths’” by “render[ing] affirmative statements
made misleading.” Zhou, 120 F. 4th at 292 (first quoting
Macquarie Infrastructure v. Moab Partners, L. P., 601 U.S. 257,
263 (2024); and then quoting Matrixx Initiatives, Inc. v.
Siracusano, 563 U.S. 27, 44 (2011)). Moreover, plaintiffs must,
“with respect to each act or omission alleged[,] . . . state
with particularity facts giving rise to a strong inference that
the defendant acted with the required state of mind.” 15 U.S.C.
§ 78u-4(b)(2)(A).

                                    [26]
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Fiat Chrysler Autos., N.V., 327 F.R.D. 38, 48 (S.D.N.Y. 2018)

(emphasis added) (quoting Carpenters Pension Tr. Fund of St.

Louis v. Barclays PLC, 310 F.R.D. 69, 97 (S.D.N.Y. 2015)).

Biogen persuasively argued that the market was cured by the July

12, 2021 disclosure.   “[T]he district court ‘is not bound by the

class definition proposed in the complaint and should not

dismiss the action simply because the complaint seeks to define

the class too broadly.’”    Lundquist v. Security Pac. Auto. Fin.

Servs. Corp., 993 F.2d 11, 14 (2d Cir. 1993) (quoting Robidoux

v. Celani, 987 F.2d 931, 937 (2d Cir. 1993)); see also Bruns v.

Mayhew, No. 1:12-cv-00121-JAW, 2013 WL 12233685, at *8 n.1 (D.

Me. Mar. 25, 2013) (citing Robidoux, 987 F.2d at 937) (altering

plaintiffs’ proposed class definition).       “[W]hen the record

warrants, it is appropriate for a district court to modify a

proposed class period based on clear, unambiguous disclosures.”

In re SunEdison, Inc. Sec. Litig., 329 F.R.D. 124, 134-35

(S.D.N.Y. 2019) (citing Yi Xiang v. Inovalon Holdings, Inc., 327

F.R.D. 510, 521-22 (S.D.N.Y. 2018); and then citing In re Smart

Techs, Inc. S’holder Litig., 295 F.R.D. 50, 58 (S.D.N.Y. 2013)).

Because the scienter issue decided in the previous Order is

distinct from the market correction issue, this Court is free to

rule, as it did in issuing its certification order, that the




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alleged misrepresentations were fully corrected by the July 12,

2021 disclosure, without reaching the issue of materiality. 7

     Both parties object to the class period this Court has

drawn.   Biogen argues that the June 28, 2021 Wall Street Journal

article cited by the Firefighters in their SAC corrected the

initial misrepresentations by suggesting, as that article’s

headline put it, that Biogen’s “Costly New Alzheimer’s Drug

Could Force Medicare to Restrict Access.”        Defs.’ Mem. Opp’n 10,

19-20; Defs.’ Sur-Reply 9; SAC. ¶¶ 217, 296.         For their part,

the Firefighters argue that, because the NDC announcement was

accompanied in some publications by a distinctly positive spin,

it is not clear that all impact of the initial

misrepresentations was -- so to speak -- washed out, even as

late as July 12.   Pl.’s Reply 11-12; see Allegheny Cnty. Emps.’

Ret. Sys. v. Energy Transfer LP, 623 F. Supp. 3d 470, 492 (E.D.

Pa. 2022) (“[A] partial disclosure of negative information does


     7 This Court also notes, without resting its decision on
this basis, that the proposed class period would likely have
raised predominance issues under Goldman, for the reasons
described supra, at note 5: the January 11, 2022 disclosure
simply is not a fit for the June 8 misrepresentations. As the
Supreme Court in Goldman described, the price impact inference
“starts to break down when there is a mismatch between the
contents of the misrepresentation and the corrective
disclosure,” particularly “when the earlier misrepresentation is
generic . . . and the later corrective disclosure is specific,”
making it “less likely that the specific disclosure actually
corrected the generic misrepresentation.” 594 U.S. at 123.
Issues of manageability and superiority would also have likely
followed.
                                    [28]
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not necessarily relieve a company of liability if the disclosure

to the public was still more optimistic than the truth privately

known by the Defendants.”).

     Ultimately, this Court disagreed with both arguments.            As

to Biogen’s June 28 versus July 12 argument, this Court judged

that it could not find that the alleged misrepresentations were

unambiguously cured based on a single article that represented

no more than informed speculation that an NDC process could be

applied to Aduhelm.   Rather, the July 12 disclosure that there

would be a lengthy review process cured the initial

misrepresentations.   In urging this Court to closely consider

the impact of one June 28 article, Biogen asked this Court to

engage in precisely the kind of fact-intensive parsing of

disclosure impacts that is “a loss causation analysis not

appropriate at this stage.”     Homyk v. ChemoCentryx, Inc., No.

4:21-cv-03343-JST, 2024 WL 1141699, at *4 (N.D. Cal. Mar. 6,

2024) (quoting Boston Ret. Sys. v. Alexion Pharms., Inc., No.

3:16-cv-2127(AWT), 2023 WL 2932485, at *12 (D. Conn. Apr. 13,

2023)).   Moreover, even if this Court were in “equipoise” as to

the misrepresentations’ impact after June 28, it would be

required to side with the plaintiffs on the price impact issue

because the burden of persuasion rests with Biogen.           Goldman,

594 U.S. at 127.



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       As to the Firefighters’ argument that the class period

ought extend beyond July 12 because the misrepresentations had

not been fully corrected by that date, a close look at the facts

of Allegheny Cnty. -- the case on which the Firefighters

primarily rely for this argument -- is instructive: that case

involved a new misleading “update” disclosure as to a project

completion timeline and another disclosure as to which the

defendants “actively” concealed the “true impact.”          623 F. Supp.

3d at 491-92, 495.    Here, the Firefighters allege that the

market did not fully understand the import of the announced NCD

on July 12, but do not allege either an incomplete “update”

disclosure on Biogen’s part or any active spin, at least until

statements made on a July 22, 2021 earnings call, which itself

only celebrated the NCD as an opportunity for “clarity” and

“consistency.”    Pl.’s Reply 12; SAC ¶ 234.      These would be

interesting arguments for the merits stage if Biogen had

represented that all or even most Medicare plans would cover

Aduhelm, but again, Biogen can only be held liable for what it

actually said: that coverage was automatically presumed upon FDA

approval, and that it expected coverage policies to be announced

within “several months.”    SAC ¶¶ 187, 192.      These

misrepresentations were corrected by the announcement of a

lengthy, non-automatic coverage determination process.           SAC ¶

188.    To rule otherwise, moreover, would be at least potentially

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to raise a scienter issue with the Firefighters’ pleading:

without an “update” misrepresentation suggesting a favorable

result from the NCD process, or some act of active concealment

on Biogen’s part, it is hard to see how Biogen can be said to

have knowingly misrepresented its expectations regarding a

process that it represented -- according to the Firefighters

themselves -- would not take place. 8

          c. “Front End” and “Back End” Price Impact Analysis

     Up to this point, this Court has dealt with the price




     8 Allegheny Cnty. also collects authority for a slightly
different proposition: that price impact can be shown, in some
cases, by price fluctuations within a two- or even five-day
“event window” following on the disclosures that allegedly
affected the stock price. 623 F. Supp. 3d at 485-88. This
Court notes, without deciding, that its limitation of the class
period to those who purchased stock up to the time of the July
12 disclosure does not necessarily bar it from considering later
stock price drops, should they be found to have represented a
delayed market reaction to the July 12 disclosure. In other
words, the class period may still be modified, in response to a
more granular analysis of materiality and loss causation that
the Court judged improper at this stage. As persuasive
precedent indicates, “the class period ends when the full truth
has been disclosed to the market and the natural market forces
have had a reasonable period of time to receive, digest and
reflect the bad news in the market price of the security.” In
re Oxford Health Plans, Inc., 191 F.R.D. 369, 378 (S.D.N.Y.
2000). It seemed to this Court that close parsing of the
reasonable reliance issue day-by-day post-correction would
require it “to adjudicate in advance of trial when the market
had responded to a truthful and complete disclosure.” Id. It
chose instead to certify the class based on the date of the
corrective disclosure while keeping in mind, as always, that
“any order declaring a class is subject to modification as the
litigation goes forward.” Id.

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impact and class period issues as matter of law, applying

Goldman and other relevant case law to match the alleged

misrepresentations with alleged disclosures and determine the

class period in which the Firefighters’ case may be maintained.

It must now deal with the more empirical issues raised by the

Biogen -- that is, with whether the Firefighters’ own expert

study shows, in its analysis of the statistical significance of

changes in Biogen’s price relative to the broader pharmaceutical

and biotechnology markets within the proposed class period, that

there was no price impact either at the “front end” when the

misrepresentations were made, or at the “back end” at the time

of the corrective disclosures, thus defeating the presumption of

reliance for even the more limited class period ending on July

12, 2021.

     As Biogen argues, the expert report prepared by the

Firefighters itself shows no statistically significant “residual

return” -- that is, statistically significant positive or

negative price movement of Biogen’s stock relative to the rest

of the market and the stock’s corresponding market sectors -- in

the days following the June 8, 2021 alleged misrepresentations.

Feinstein Report 131.       After a sharp rise when Aduhelm’s FDA

approval was announced on June 7, Biogen’s stock price stagnated

relative to the market on June 8, 9, and 10, followed by returns

that are statistically significant to the 95% and 90% confidence

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level, respectively, on June 11 and 14.         Id.; SAC ¶ 7.

Statistically significant returns also occurred on June 18, 21,

and 24, and July 7, 8, and 9, but not in close proximity to the

alleged corrective disclosures on June 28 and July 12.

Feinstein Report 131.       A statistically significant drop at the

high 99% confidence level occurred, however, on July 15, three

days after the announcement of the NCD process.               Id.   The

Firefighters’ counsel further asserted at oral argument that

Biogen’s expert report had not dealt with the possible

connection between the statistically significant drops on June

11 and June 24 and alleged partial disclosures discussed in the

Firefighters’ Reply.    Tr. Hr’g Mot. Certify 10, ECF No. 106;

Pl.’s Reply 14-15.

     The lack of statistically significant residual returns at

the front and back ends of the class period does not in itself

show lack of price impact.       Rather, “numerous courts have

recognized that as a matter of logic such absence of proof is

not proof of absence.”       Allegheny Cnty., 623 F. Supp. 3d at 487-

88 (collecting cases).       Indeed, as the Firefighters point out,

Biogen’s stock did hold steady relative to the broader

pharmaceutical and biotechnology markets on June 8, 9, and 10,

despite the Firefighters’ expert’s finding that this relative

strength was not a statistically significant residual return on

any one date.   Pl.’s Reply 13-14 n.5 (“[Biogen] ignore[s] that

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on June 8, 2021, the Pharmaceutical Index as a whole fell 0.74%,

6 times more than Biogen’s stock . . . .”); Feinstein Report

131.    Similarly, in addition to the statistically significant

drop on July 15, Biogen’s stock declined relative to these

broader markets on June 28, even though this decline was not

found statistically significant, and on July 12 itself, the date

of the NCD announcement.    Id.

       As noted above, the Firefighters also argue that the

immediate impact of the July 12 disclosure may have been

mitigated somewhat by the presence of some initial positive spin

in the press.    Pl.’s Reply 11-12.    The Firefighters have also

adduced some evidence suggesting that Biogen’s stock might have

held relatively steady on July 13 despite the alleged corrective

disclosure for a separate reason: the announcement of a world-

wide licensing deal for Biogen’s drug orelabrutinib, after

market close on July 12.    Id. at 16; Block Decl., Ex. B, Biogen

July 12, 2021 Press Release.      Similarly, Biogen’s own expert

report cites analyst and public press commentary voicing

concerns over Aduhelm’s price and other potential post-approval

issues as early as June 8, further supporting the inference that

the stock might have dropped further on that date were it not

for Biogen’s allegedly inflationary misrepresentations.

Marietta-Westberg Report ¶¶ 27-30; Pl.’s Reply 13-14 n.5

(“[Biogen] neither isolate[s] the impact of the Medicare

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Statements on June 8, 2021 from the myriad news released on that

day, nor explain[s] whether Biogen [share price] would not have

fallen in line with the pharmaceutical index (or further) absent

the misstatements.”).

     Weighing all direct and indirect evidence of price impact,

this Court determined that the demonstrated potential for price

inflation on the front end, and for a drop relative to what

would have otherwise occurred on the back end, was enough to

defeat Biogen’s attempt to carry its “daunting” burden to show

that the alleged misrepresentations had no price impact at all

in the class period.    Monroe Cnty. Emps.’ Ret. Sys. v. Southern

Co., 332 F.R.D. 370, 393 (N.D. Ga. 2019) (quoting Aranazu v.

Catalyst Pharm. Partners Inc., 302 F.R.D. 657, 673 (S.D. Fla.

2014)).   Thus, while this Court determined that the class period

could extend no further than the effect of the July 12

disclosure, the “fraud-on-the-market” theory-based presumption

of reliance applied to a class period extending up to the time

of that disclosure.

             2. Damages

     For reasons similar to those addressed above with respect

to predominance, Biogen also contends that the Firefighters have

offered no plausible way of calculating class-wide damages, as

is their duty under Comcast Corp. v. Behrend, 569 U.S. 27, 35

(2013) (requiring that plaintiff translate “the legal theory of

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the harmful event into an analysis of the economic impact of

that event” (citation omitted)).     Defs.’ Mem. Opp’n 17-19.         For

their part, the Firefighters contend that they have easily met

their burden “simply to propose a methodology for calculating

damages that corresponds to [their] theory of liability,” as

their expert has identified the common “out-of-pocket”

methodology for securities fraud, and proposed to determine the

difference between stock price inflation when purchased and

stock price inflation when sold or when held at the end of the

class period.    Luna v. Carbonite, Inc., No. 19-11662-LTS, 2023

WL 4539855, at *10 (D. Mass. July 14, 2023) (Sorokin, J.); Pl.’s

Mem. Supp. 18-19; Pl.’s Reply 17-20; Feinstein Report ¶¶ 165 -

177.    Biogen contends that this task is too difficult here

because of the multiple possible disclosures and confounding

variables, such as the market’s assessment of the importance and

implications of the NCD process and other developments affecting

Aduhelm’s commercial viability.     Defs.’ Mem. Opp’n 18-19; Defs.’

Sur-Reply 8-9.

       This Court rules that the Firefighters’ proposed

methodology is adequate.    On Biogen’s theory, it is hard to see

how any securities fraud class action could proceed past the

certification phase.    See In re Signet Jewelers Ltd. Sec.

Litig., No. 16 Civ. 6728(CM)(RWL), 2019 WL 3001084, at *20

(S.D.N.Y. July 10, 2019) (“[T]he Court rejects the suggestion

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that an event study is incapable of disaggregating the effects

of confounding information. Were it otherwise, nearly every

securities fraud class action would fail.”).         Biogen’s argument

here is “simply a loss causation argument in disguise, because

it tests the causal relationship between the alleged

misstatements and the price decline.”      Id.    “Since Comcast, many

courts have commented that the potential need for individualized

damages calculations in Section 10(b) cases simply does not

impose a high hurdle on Rule 23(b)(3)’s predominance

requirement.”   In re Teva Sec. Litig., No. 3:17-cv-558(SRU),

2021 WL 872156, at 41 (D. Conn. Mar. 9, 2021).         This is the case

even when defendants are alleged to have lied about multiple

related topics at different times, in “a network of interrelated

lies all collectively aimed at perpetuating a broader, material

lie.”   Id. (quoting Ontario Tchrs.’ Pension Plan Bd. v. Teva

Pharm. Indus. Ltd., 432 F. Supp. 3d 131, 174 (D. Conn. Sept. 25,

2019)).   Here, where the Firefighters rely on two nearly

identical misrepresentations made on the same day, the

requirement is more easily satisfied.

  III. CONCLUSION

     The requirements of Federal Rule of Civil Procedure 23(a)

are satisfied, and because the Firefighters have shown that the

Basic factors supporting a presumption of reliance apply here,

that Biogen has failed to carry its burden to show no price

                                    [37]
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impact in the class period, and that the Firefighters have

adduced an adequate method of calculating class-wide damages,

satisfying Federal Rule of Civil Procedure 23(b)(3)’s

predominance requirement, this Court ALLOWED the Firefighters’

motion to certify the class.     The alleged misrepresentations

were corrected by the disclosure that CMS would engage in an NDC

process on July 12, 2021. Thus, this Court certified a class

only of those who purchased Biogen stock between June 8, 2021

and July 12, 2021.



                                           Respectfully submitted,



                                           _/s/ William G. Young_

                                           WILLIAM G. YOUNG
                                           DISTRICT JUDGE



                                 ORDER

     The Supreme Court has exhorted the lower courts to resolve

class certification issues “early on” in the case management

process, see China Agritech v. Resh, 584 U.S. 732, 741 (2018)

(citing Fed. R. Civ. P. 23(c)(1)(A)), without delving so far

into the merits of the case as implicitly to resolve factual

issues that must be left to the jury, see Amgen Inc. v.

Connecticut Ret. Plans and Tr. Funds, 568 U.S. 455, 477 (2013)


                                    [38]
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(recognizing Rule 23(c)(1)(a)’s admonition to certify the class

“[a]t an early practicable time” counsels against determination

of materiality at the class certification stage because it

“would [improperly] necessitate a mini-trial on the issue of

materiality at the class-certification stage”).                Although the

most recent amendment to Rule 23(c) provides some “flexibility,”

Danny B. ex rel. Elliott v. Raimondo, 784 F.3d 825, 837 (1st

Cir. 2015) (quoting In re Pharm. Indus. Average Wholesale Price

Litig., 588 F.3d 24, 40 (1st Cir. 2009)), class certification is

nonetheless to proceed expeditiously.

       The alleged fraudulent misstatements at the heart of this

case took place in 2021, nearly four years ago.                The

Firefighters commenced this action on February 7, 2022.                 Compl.,

ECF No. 1.     It took a few months to settle on lead counsel, who

filed an amended complaint on June 27 2022.           Am. Compl., ECF No.

30.    The inevitable motion to dismiss, Mot. Dismiss, ECF No. 39,

followed in due course, was heard on October 13 2022, Elec.

Clerk’s Notes, ECF No. 49, and decided within six months by a

thorough memorandum and order, Mem. & Order, ECF No. 59,

dismissing this entire case.

       A year passes during which the Firefighters, pointing to

allegedly “new” evidence, try -- and ultimately succeed -- in

getting the Court to amend its judgment and reopen the case on



                                       [39]
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March 19, 2024, Mem. & Order, ECF Nos. 68 and 70.           The Court

ordered the case trial-ready by April 1, 2025.         See id.

     On May 10 2024, the Firefighters moved to certify the

class, ECF No. 79, which motion was duly heard in July, Elec.

Clerk’s Notes, ECF No. 96, and resulted on September 5, 2024 in

the order certifying the class, but modifying the class period.

Elec. Order, ECF Nos. 100, 108.

     As is their right, all parties sought interlocutory appeal,

see Fed. R. Civ. P. 23(f), of this Court’s class certification

order, which resulted in the Court of Appeals’s entering its

“show your work” order, to which order the Response above is

respectfully made this day.

     The Firefighters also moved to file a third amended

complaint, ECF No. 121, and filed a motion to amend the class

period, ECF No. 123, which motions remain pending.

     With the case in its present posture, this Court DENIES the

two pending motions, ECF Nos. 121 and 123, without prejudice to

their being refiled once the view of the Court of Appeals is

made known.   Moreover, the dispositive motions and trial-

readiness dates have been overtaken by events and the Court sua

sponte extends each of them by nine months such that the case is

now to be trial-ready as of January 2, 2026.         The Court will

revisit this extension should 1) the Court of Appeals grant an

interlocutory appeal, or 2) the motion for leave to file a third

                                    [40]
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amended complaint is refiled and allowed.


     SO ORDERED.

                                           _/s/ William G. Young_

                                           WILLIAM G. YOUNG
                                           DISTRICT JUDGE




                                    [41]
